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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 KEY BENEFIT ADMINISTRATORS, INC.,                  )
                                                    )
                              Plaintiff,            )
                                                    )
                         v.                         )       No. 1:18-cv-02051-JMS-MPB
                                                    )
 TELADOC, INC.,                                     )
 HY HOLDINGS, INC.                                  )
   d/b/a HEALTHIEST YOU,                            )
                                                    )
                              Defendants.           )


                                            ENTRY

        The parties have advised the Court that they have resolved the issues raised in the Motion

 for Temporary Restraining Order and Preliminary Injunction, [12], and the Motion for Expedited

 Discovery, [14]. A Motion to Withdraw these motions will be forthcoming. Accordingly, the July

 9, 2018 telephonic status conference before Magistrate Judge Brookman and the July 9, 2018

 motions hearing before Chief Judge Magnus-Stinson are VACATED. The case will proceed

 based on the Amended Complaint.




           Date: 7/9/2018



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